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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

MARNIE O'BRIEN,                                       :
                       Plaintiff,                     :
                                                      :
                       v.                             :      Civil No. 2:19-cv-06078-JMG
                                                      :
THE MIDDLE EAST FORUM, et al.,                        :
                  Defendants.                         :
__________________________________________

                                               ORDER

       AND NOW, this 5th day of March, 2021, upon the stipulation of counsel and pursuant to

the Court’s discretion to amend pretrial scheduling orders under Federal Rule of Civil Procedure

16(b)(4), IT IS HEREBY ORDERED that the Second Amended Scheduling Order (ECF No. 39)

is amended as follows:

       1. A status conference with counsel is scheduled for April 29, 2021 at 1:00 p.m.

           Plaintiff’s counsel shall provide the Court and opposing counsel with conference

           bridge details (such as a telephone number and access code) no later than, Monday,

           April 19, 2021.

       2. Counsel for each Party shall serve on counsel for every other Party a copy of each

           exhibit the Party expects to offer a trial no later than May 12, 2021.

       3. Pretrial memoranda shall be filed no later than May 19, 2021.

       4. All motions in limine shall be filed no later than May 26, 2021. Responses, if any, shall

           be filed no later than June 2, 2021.

       5. Any objections to designations of deposition testimony shall be made no later than May

           26, 2021.


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6. The Parties shall file proposed jury instructions, verdict forms, and/or special

   interrogatories, as set forth in the original Scheduling Order (ECF No. 23), no later than

   May 26, 2021.

7. A final pretrial conference will be held on Wednesday, June 9, 2021 at 1:30 p.m., in

   Chambers.

8. This case will be listed for trial on Friday, June 11, 2021 at 9:00 a.m.




                                      BY THE COURT:




                                      /s/ John M. Gallagher
                                      JOHN M. GALLAGHER
                                      United States District Court Judge




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